   Case 5:24-cv-00717-OLG-HJB                Document 77-1      Filed 04/09/25   Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

                                   SAN ANTONIO DIVISION


 LOGAN PAUL,

                                Plaintiff,
        v.
                                                           Civil Action No. 5:24-cv-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                                Defendants.


   DECLARATION OF ANDREW C. PHILLIPS IN SUPPORT OF PLAINTIFF’S
MOTION TO COMPEL PRODUCTION OF EVIDENCE RELEVANT TO PLAINTIFF’S
              GOOD FAITH INTENTIONS AND ACTIONS

       I, Andrew C. Phillips, declare as follows

       1.      I am an attorney admitted, pro hac vice, to practice in this Court, and I am one of

the lawyers responsible for representing Plaintiff Logan Paul in this action. I submit this

declaration in support of Mr. Paul’s Motion to Compel Production of Evidence Relevant to

Plaintiff’s Good Faith Intentions and Actions (the “Motion”). The following facts are within my

personal knowledge and, if called and sworn as a witness, I would testify competently as to them.

       2.      On August 29, 2024, I caused to be served on Defendants—through their counsel—

the requests for production reflected in Exhibit 1 to this Declaration.

       3.      Subsequently, in a series of e-mail communications, I asked Defendants to produce

the materials that are the subject of the Motion.

       4.      On April 9, 2025, I participated in a conference call with Defendants’ counsel,

during which I again asked Defendants to produce the materials that are the subject of the Motion.

Defendants declined to produce materials subject to The Motion.



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    Case 5:24-cv-00717-OLG-HJB             Document 77-1        Filed 04/09/25      Page 2 of 3




       5.      On December 20, 2022, Defendants published a YouTube video about Mr. Paul

and CryptoZoo titled, “The Biggest Fraud in Logan Paul’s Scam.”1 Included in the video are

portions of a recorded telephone call with Jake Greenbaum, who was an advisor to the CryptoZoo

project and became a source for Defendant Findeisen’s reporting on CryptoZoo. During that

telephone call, Mr. Greenbaum told Mr. Findeisen that CryptoZoo head of development Eddie

Ibanez was “the biggest reason it failed.” He continued, “I don’t want it to ever be thought that

Logan [Paul]’s the reason it failed. He’s not. Logan wasn’t smart enough for what he tried to

build, and then when it was built and was failing, didn’t have the ability to correct it and save face

and reputation.”2

       6.      Attached hereto as Exhibit 2 are portions of the transcript of the deposition of

Luciano Schipelliti, taken in this case on March 18, 2025. Mr. Schipelliti, who was a community

member and developer for the CryptoZoo project, and who also became a source for Defendant

Findeisen’s reporting on CryptoZoo, testified that he expressly told Mr. Findeisen that Mr. Paul

had good intentions for the CryptoZoo project and that the issues that doomed the project resulted

from incompetence rather than any ill or fraudulent intent. Mr. Schipelliti further testified that Mr.

Findeisen told Mr. Schipelliti that Mr. Findeisen agreed with that assessment. (L. Schipelliti Dep.

Tr. at 75:17-85:15.)

       7.      Defendants have declined to produce the copies of the evidence in their possession

that is the subject of the Motion.




1
   Coffeezilla, The Biggest Fraud in Logan Paul’s Scam, YouTube (Dec. 20, 2022), https:
//www.youtube.com/watch?v=wvzyDg40- yw&list=PL4qw3AkxFDSNYGZAS84sPlQn20Ezcx
8Ks&index=2.
2
  Id. at 11:45-12:41.


                                                  2
   Case 5:24-cv-00717-OLG-HJB            Document 77-1       Filed 04/09/25      Page 3 of 3




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



Executed on April 9, 2025                   /s/ Andrew C. Phillips
                                            Andrew C. Phillips




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